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DAVISHA I. FAVORS, §
Petitioner, §
vs. § NO. 05_1226-T/An
DEBORAH A. HICKEY, §
Respondent. §

 

ORDER TRANSFERRING PETITION PURSUANT TO 28 U.S.C. § l406(a)

 

On August 9, 2005, petitioner Davisha I. Favors, Bureau of Prisons inmate
registration number 17364-076, an inmate at the F ederal Prison Camp in Alderson, West
Virginia (“FPC-Alderson”), filed a pro se petition for a Writ of habeas corpus pursuant to
28 U.S.C. § 2241. Favors has neither paid the $5.00 habeas filing fee nor filed an affidavit
seeking leave to proceed informer pauperis However, as this petition is being transferred,
the filing fee issue will be left to the transferee court. The Clerk shall record the respondent
as FPC-Alderson Warden Deborah A. Hickey.

The proper venue for a § 2241 petition is the prisoner’s place of confinement W_rigm
v. United States Bd. of Parole, 557 F.2d 74, 77 (6th Cir. 1977) (“The habeas corpus power
of` federal courts over prisoners in federal custody has been confined by Congress through

28 U.S.C. § 2241 to those district courts Within Whose territorial jurisdiction the custodian

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is located.”); see also United States v. Griffith, No. 95-]748, 1996 WL 316504, at *2 (6th
Cir. .lune lO, 1996) (to the extent prisoner’s filing is construed as § 2241 petition, “the
Eastern District of Michigan is not the proper venue to tile a § 2241 motion for one
incarcerated in Lolnpoc, California”). As Favors is confined in West Virginia, the Western
District of Tennessee is not the proper venue for this habeas petition
TWenty-eight U.S.C. § l406(a) states:
The district court of a district in Which is filed a case laying venue in the
Wrong division or district shall dislniss, or if it be in the interest ofjustice,
transfer such case to any district or division in Which it could have been
brought
F or the reasons stated, this action should have been brought in the district in which the
FPC-Alderson is located Alderson is located in Greenbrier County, Which is in the
Southern District of West Virginia. 28 U.S.C. § 129(b). Therefore, it is ORDERED,
pursuant to 28 U.S.C. § l406(a), that this case is hereby TRANSFERRED to the Southern

District of West Virginia.

IT IS SO ORDERED this f é /day ofAugust, 2005.

  

ITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 1:05-CV-01226 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

Davisha I. Favors

Alderson Federal Prison Camp
17364-076

PO BoX A

Alderson, WV 24910

Honorable J ames Todd
US DISTRICT COURT

